     Case 2:07-cr-00080-CRW-PAL         Document 314        Filed 05/30/12      Page 1 of 1




                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEVADA
                                         ***


UNITED STATES OF AMERICA,

               Plaintiff,                             02:07-CR-00080-CRW-PAL

v.
                                                              ORDER
MICHAEL JENKINS,

              Defendant.



              At noon on June 1, 2012, the court will place a telephone conference call to

Attorneys Robert Story and Kate Newman to conduct the status conference that was previously

scheduled to be held on May 25, 2012.

              IT IS SO ORDERED.

              Dated this 30th day of May, 2012.




                                               1
